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 1                                UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3                                                  ***
 4    BWD PROPERTIES 2, LLC , a Nevada                      Case No. 2:06-cv-01499-RCJ-EJY
      Limited Liability Company, BWD
 5    PROPERTIES 3, LLC, a Nevada Limited
      Liability Company, and BWD                                        ORDER
 6    PROPERTIES 4, LLC, a Nevada Limited
      Liability Company,
 7
                    Plaintiffs,
 8
            v.
 9
      BOBBY LEN FRANKLIN, an individual and
10    dba DAYDREAM LAND & SYSTEMS
      DEVELOPMENT COMPANY, ROBERT
11    LEE FRANKLIN, an individual, BOBBY
      DEAN FRANKLIN, an individual, and
12    DONNA SUE OWENS, an individual,
13                  Defendants.
14
      AND ALL RELATED CLAIMS.
15

16          Pending before the Court are Pro Se Defendant Bobby Len Franklin’s Motion for Permission
17   to File Electronically (ECF No. 177); Motion to Compel Discovery that was Omitted (ECF No. 178);
18   Motion to File the Three Exhibits as Evidence (ECF No. 179); Motion to Compel Attorney Urga to
19   Answer Interrogatories (ECF No. 180); and, Motion for Default (ECF No. 183). However, on July
20   14, 2015, the Court entered judgment in favor of Plaintiffs and against Defendant Bobby Len
21   Franklin, and this case was closed. ECF No. 176.
22          Accordingly, Defendant Bobby Len Franklin’s Motions ECF Nos. 177, 178, 179, 180, and
23   183 are each and all DENIED as moot.
24          Dated this 12th day of October, 2021.
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27                                              ELAYNA J. YOUCHAH
                                                UNITED STATES MAGISTRATE JUDGE
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